  Case 2:22-cr-20273-TLP Document 19 Filed 02/09/23 Page 1 of 13                              PageID 32



                                          UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF MISSOURI
                                             Southern and Southwestern Divisions
                                                   United States Courthouse
                                             222 North John Q. Hammons Parkway
                                                           Suite 1400
                                                  Springfield, Missouri 65806
                                                        (417) 865-3869




Transfer of Criminal Case or       ✔   Magistrate Case
WDMO Case No.: 23-mj-2011DPR               Case Title: USA v. Brian Allen Rogers

Dear Sir/Madam:

Pursuant to ✔ F.R.Cr.P. 5       F.R.Cr.P. 32
 ✔
   Attached are all public documents and the docket sheet.
   Certified copy of documents filed prior to November 1, 2004 and docket sheet.
   Not for public view document(s).
   Other

Pursuant to F.R.Cr.P. 20
  Attached are all public documents and the docket sheet.
  Certified copy of documents filed prior to November 1, 2004 and docket sheet.
  Not for public view document(s).
  Other

Pursuant to 18 U.S.C. § 3605 Transfer of Jurisdiction  Supervised Release       Probation
  Attached are the last charging document, the judgment and commitment, revocation orders (if any),
  and the docket sheet.
  Certified copy of documents filed prior to November 1, 2004 and docket sheet.
  Not for public view document(s).
  Other

                                                         Sincerely,

                                                         Paige Wymore-Wynn, Clerk of Court

                                                         By s/ Karla Berziel
                                                             Deputy Clerk




                                          TO BE COMPLETED BY RECEIVING DISTRICT

Please acknowledge receipt via e-mail to Karla_Berziel@mow.uscourts.gov

                                                         Clerk, U.S. District Court


Date:                                                    By
                                                              Deputy Clerk




            Case 6:23-mj-02011-DPR Document 7 Filed 02/09/23 Page 1 of 1
Case 2:22-cr-20273-TLP Document 19 Filed 02/09/23 Page 2 of 13                 PageID 33


                                                                                          CLOSED
                      U.S. District Court
            Western District of Missouri (Springfield)
 CRIMINAL DOCKET FOR CASE #: 6:23−mj−02011−DPR All Defendants

Case title: USA v. Rogers                                Date Filed: 02/08/2023

Assigned to: Magistrate Judge
David P. Rush

Defendant (1)
Brian Allen Rogers                represented by Brian David Risley
                                                 Federal Public Defender's Office − Springfield
                                                 901 St. Louis Street
                                                 Suite 801
                                                 Springfield, MO 65806
                                                 417−873−9022
                                                 Fax: 417−873−9038
                                                 Email: brian_risley@fd.org
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Public Defender or Community
                                                 Defender Appointment
                                                 Bar Status: Active

Pending Counts                                   Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                       Disposition
18:3583.F



Plaintiff

       Case 6:23-mj-02011-DPR Document 7-1 Filed 02/09/23 Page 1 of 12
                                                                                                   1
Case 2:22-cr-20273-TLP Document 19 Filed 02/09/23 Page 3 of 13                         PageID 34


USA                                             represented by Randall D. Eggert
                                                               U. S. Attorney's Office
                                                               901 St. Louis Street
                                                               Suite 500
                                                               Springfield, MO 65806
                                                               417/831−4406
                                                               Fax: 417/831−0078
                                                               Email: Randy.Eggert@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Assistant US Attorney
                                                               Bar Status: Active
Email All Attorneys
Email All Attorneys and Additional Recipients

Date Filed     # Page Docket Text
02/08/2023     1         RULE 5 as to Brian Allen Rogers (1). (Berziel, Karla) (Entered: 02/08/2023)
02/08/2023     2         NOTICE OF HEARING as to Brian Allen Rogers. This is the official notice for
                         this hearing. Initial Appearance − Rule 5 set for 2/9/2023 at 11:00 AM in MJ
                         Courtroom, Springfield (DPR) before Magistrate Judge David P. Rush. This is a
                         TEXT ONLY ENTRY. No document is attached. (Berziel, Karla) (Entered:
                         02/08/2023)
02/09/2023     3         Minute Entry for proceedings held before Magistrate Judge David P. Rush:
                         INITIAL APPEARANCE in Rule 5(c)(3) Proceedings as to Brian Allen Rogers
                         held on 2/9/2023. Time in court: 11:00 a.m. to 11:03 a.m. To order a transcript of
                         this hearing please contact Karla Berziel, 417−865−3869. DEFENDANT IN
                         CUSTODY. (Berziel, Karla) (Entered: 02/09/2023)
02/09/2023     4         WAIVER of Rule 5(c)(3) Hearings by Brian Allen Rogers. (Berziel, Karla)
                         (Entered: 02/09/2023)
02/09/2023     5         ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Brian Allen
                         Rogers. (Berziel, Karla) (Entered: 02/09/2023)
02/09/2023     6         COMMITMENT TO ANOTHER DISTRICT as to Brian Allen Rogers.
                         Defendant committed to Western District of Tennessee. (Berziel, Karla)
                         (Entered: 02/09/2023)




      Case 6:23-mj-02011-DPR Document 7-1 Filed 02/09/23 Page 2 of 12
                                                                                                              2
Case
 Case2:22-cr-20273-TLP
       2:22-cr-20273-TLPDocument
                         Document192 Filed
                                     Filed02/09/23
                                           12/08/22 Page
                                                    Page41of
                                                           of13
                                                              4 PageID
                                                                PageID535

SMITH
                        UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                    )

              Plaintiff,                     ~   CR. No. J   :J.;J.-f[-dY;}.]S --71.f    !~tr
                                             )
V.                                           )   18 U.S.C. § 1028(a)(7)
                                             )   18 U.S.C. § 1029(a)(3)
BRIAN ALLEN ROGERS and                       )   18 U.S.C. § 1028A
KIMBERLY NICHOLE BLACKWELL,                  )   18 u.s.c. § 2312
                                             )   18 u.s.c. § 2
              Defendants.                    )

                                  INDICTMENT

THE GRAND JURY CHARGES:

                                        COUNT 1
                                     (Identity Theft)

       On or about December 16, 2018 , in the Western District of Tennessee and

elsewhere , the defendant,

                                BRIAN ALLEN ROGERS,

did knowingly possess and use without lawful authority, in and affecting interstate

commerce , the means of identification of another person , with the intent to commit and in

connection with an unlawful activity that constitutes a felony violation of Tenn . Code Ann.

39-14-103. Specifically, ROGERS fraudulently used a false Tennessee identification

bearing the image of ROGERS but the name and birth date of T.K. to finance the

purchase of a 2017 Ford Explorer with VIN 1 FM5K7F83HGC61644 from Auto Nation Ford

Wolfchase , located at 7925 US 64 Highway, Memphis , Tennessee, thereby obtaining




     Case
      Case6:23-mj-02011-DPR
            6:23-mj-02011-DPR Document
                               Document7-1
                                         1 Filed
                                           Filed 02/08/23
                                                 02/09/23 Page
                                                          Page 13 of
                                                                  of 512
                                                                                                3
Case
 Case2:22-cr-20273-TLP
       2:22-cr-20273-TLPDocument
                         Document192 Filed
                                     Filed02/09/23
                                           12/08/22 Page
                                                    Page52of
                                                           of13
                                                              4 PageID
                                                                PageID636




property and monies having an aggregate value of $1,000 or more within a one-year

period.

          All in violation of Title 18, United States Code , Section 1028(a)(7).

                                            COUNT 2
                                         (Identity Theft)

          On or about December 18, 2018 , in the Western District of Tennessee and

elsewhere , the defendant,

                                   BRIAN ALLEN ROGERS ,

did knowingly possess and use without lawful authority, in and affecting interstate

commerce , the means of identification of another person , with the intent to commit and in

connection with an unlawful activity that constitutes a felony violation of Tenn . Code Ann .

39-14-103 . Specifically, ROGERS fraudulently used a false Tennessee identification

bearing the image of ROGERS but the name and birth date of T.K. to obtain financing for

the purchase of a 2018 Dodge Ram 1500 with VIN 1C6RR7MT8JS108566 from Gossett

Kia , located at 1900 Covington Pike , Memphis , Tennessee , thereby obtaining property

and monies having an aggregate value of $1,000 or more within a one-year period.

       All in violation of Title 18, United States Code , Section 1028(a)(7).

                                        COUNT 3
              (Possession of Fifteen or More Unauthorized Access Devices)

          Between sometime in or about February 2018 and in or about January 30 , 2019 ,

in the Western District of Tennessee and elsewhere , the defendants,

            BRIAN ALLEN ROGERS and KIMBERLY NICHOLE BLACKWELL,

aiding and abetting one another, did knowingly and with intent to defraud , possess at

least fifteen unauthorized access devices , that is, numerous social security account



                                                    2


      Case
       Case6:23-mj-02011-DPR
             6:23-mj-02011-DPR Document
                                Document7-1
                                          1 Filed
                                            Filed 02/08/23
                                                  02/09/23 Page
                                                           Page 24 of
                                                                   of 512
                                                                                                4
Case
 Case2:22-cr-20273-TLP
       2:22-cr-20273-TLPDocument
                         Document192 Filed
                                     Filed02/09/23
                                           12/08/22 Page
                                                    Page63of
                                                           of13
                                                              4 PageID
                                                                PageID737




numbers assigned to individua ls other than defendants ROGERS and BLACKWELL,

such conduct affecting interstate commerce .

      All in violation of Title 18, United States Code, Section 1029(a)(3) and 2.

                                      COUNT 4
                              (Aggravated Identity Theft)

       Between sometime in or about February 2018 and in or about January 30, 2019,

in the Western District of Tennessee and elsewhere , the defendants ,

         BRIAN ALLEN ROGERS and KIMBERLY NICHOLE BLACKWELL ,

did knowingly transfer, possess, and use , without lawful authority, a means of

identification of another person , that is, the names , birth dates, and social security

numbers of over 700 other persons , and did aid and abet in the commission of said

offense , and ROGERS and BLACKWELL did so during and in relation to the commission

of a felony violation of Title 18, United States Code , Section 1029(a)(3), as alleged in

Count Three.

      All in violation of Title 18, United States Code , Sections 1028A and 2.

                                      COUNT 5
                 (Interstate Transportation of Stolen Motor Vehicle)

      Between on or about January 2, 2019 , and on or about January 11 , 2019 , in the

Western District of Tennessee and elsewhere , the defendant,

                                BRIAN ALLEN ROGERS,

did unlawfully transport in interstate commerce a stolen motor vehicle , to wit , a 2016

Dodge Challenger "Hellcat" with VIN 2C3CDZC97GH164646 from the State of Mississippi

to the State of Tennessee , knowing the same to be stolen.

      All in violation of Title 18, United States Code , Section 2312 .



                                                 3


     Case
      Case6:23-mj-02011-DPR
            6:23-mj-02011-DPR Document
                               Document7-1
                                         1 Filed
                                           Filed 02/08/23
                                                 02/09/23 Page
                                                          Page 35 of
                                                                  of 512
                                                                                            5
Case
 Case2:22-cr-20273-TLP
       2:22-cr-20273-TLPDocument
                         Document192 Filed
                                     Filed02/09/23
                                           12/08/22 Page
                                                    Page74of
                                                           of13
                                                              4 PageID
                                                                PageID838




                                      COUNT 6
                 (Interstate Transportation of Stolen Motor Vehicle)

      Between on or about January 4, 2019 , and on or about January 11 , 2019 , in the

Western District of Tennessee and elsewhere , the defendant,

                         KIMBERLY NICHOLE BLACKWELL,

did unlawfully transport in interstate commerce a stolen motor vehicle , to wit , a 2017

Chevrolet Camara with VIN 1G1 FD1 RS4H0179513 from the State of Mississippi to the

State of Tennessee, knowing the same to be stolen .

      All in violation of Title 18, United States Code, Section 2312 .

                                                 A TRUE BILL:



                                                 FOREPERSON



DATED:
         -----------

KEVIN G. RITZ
UNITED STATES ATTORNEY




                                                4


     Case
      Case6:23-mj-02011-DPR
            6:23-mj-02011-DPR Document
                               Document7-1
                                         1 Filed
                                           Filed 02/08/23
                                                 02/09/23 Page
                                                          Page 46 of
                                                                  of 512
                                                                                           6
   Case
    Case2:22-cr-20273-TLP
         2:22-cr-20273-TLP Document
                            Document19
                                     2-1 Filed
                                           Filed02/09/23
                                                 12/08/22 Page
                                                           Page8 1ofof131 PageID
                                                                          PageID 39
                                                                                 9
SMITH
                        UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION

  UNITED STATES OF AMERICA,                )

              Plaintiff,                   ~   CR. No.   J -ct°a: -v -Jo£/2, -nr/V:L
                                           )
  v.                                       )   18 U.S.C. § 1028(a)(7)
                                           )   18 U.S.C. § 1029(a)(3)
  BRIAN ALLEN ROGERS and                   )   18 U.S.C. § 1028A
  KIMBERLY NICHOLE BLACKWELL,              )   18 u.s.c. § 2312
                                           )   18 u.s.c. § 2
              Defendants.                  )

                               NOTICE OF PENALTIES

                                      COUNTS 1-2
                                    (Identity Theft)

        [NMT 5 years imprisonment, NMT $250 ,000 fine , or both , NMT 3 years
        supervised release , and a special assessment of $100].

                                      COUNT 3
                   (Possession of Fifteen or More Access Devices)

        [NMT 10 years imprisonment, NMT $250 ,000 fine , or both , NMT 3 years
        supervised re lease, and a special assessment of $100] .

                                     COUNT 4
                             (Aggravated Identity Theft)

        [Mandatory 2 years imprisonment consecutive to any other term of
        imprisonment, NMT $250 ,000 fine , or both , NMT 3 years supervised
        release , and a special assessment of $100].

                                    COUNTS 5-6
                 (Interstate Transportation of Stolen Motor Vehicle)

       [NMT 10 years imprisonment, NMT fine $250 ,000 , or both , NMT 3 years
       supervised release , and a special assessment of $100] .




        Case
         Case6:23-mj-02011-DPR
               6:23-mj-02011-DPR Document
                                  Document7-1
                                            1 Filed
                                              Filed 02/08/23
                                                    02/09/23 Page
                                                             Page 57 of
                                                                     of 512
                                                                                       7
Case 2:22-cr-20273-TLP Document 19 Filed 02/09/23 Page 9 of 13                      PageID 40


MIME−Version:1.0
From:ecfMOW.notification@mow.uscourts.gov
To:cmecf_atynotifications@mow.uscourts.gov
Bcc:
−−Case Participants: Randall D. Eggert (caseview.ecf@usdoj.gov,
jacki.dean−swineburg@usdoj.gov, randy.eggert@usdoj.gov, shawnette.cameron@usdoj.gov)
−−Non Case Participants: MarshalsAllDist (usmsmow.ecfnotice@usdoj.gov), Pretrial −
Jefferson City (mow_pts_jc_cmecf@mow.uscourts.gov), Pretrial − Kansas City
(mow_pts_kc_cmecf@mow.uscourts.gov), ProbationAll (mow_dqa@mow.uscourts.gov)
−−No Notice Sent:

Message−Id:8075105@mow.uscourts.gov
Subject:Activity in Case 6:23−mj−02011−DPR USA v. Rogers Notice of Hearing
Content−Type: text/html

                                          U.S. District Court

                                      Western District of Missouri

Notice of Electronic Filing


The following transaction was entered on 2/8/2023 at 10:53 AM CST and filed on 2/8/2023

Case Name:       USA v. Rogers
Case Number:     6:23−mj−02011−DPR
Filer:
Document Number: 2(No document attached)
Docket Text:
 NOTICE OF HEARING as to Brian Allen Rogers. This is the official notice for this hearing.
Initial Appearance − Rule 5 set for 2/9/2023 at 11:00 AM in MJ Courtroom, Springfield (DPR)
before Magistrate Judge David P. Rush. This is a TEXT ONLY ENTRY. No document is
attached. (Berziel, Karla)


6:23−mj−02011−DPR−1 Notice has been electronically mailed to:

Randall D. Eggert Randy.Eggert@usdoj.gov, CaseView.ECF@usdoj.gov, Shawnette.Cameron@usdoj.gov,
jacki.dean−swineburg@usdoj.gov

6:23−mj−02011−DPR−1 It is the filer's responsibility for noticing the following parties by other means:




      Case 6:23-mj-02011-DPR Document 7-1 Filed 02/09/23 Page 8 of 12
                                                                                                          8
 Case 2:22-cr-20273-TLP Document 19 Filed 02/09/23 Page 10 of 13               PageID 41




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

                                     MINUTE SHEET

UNITED STATES OF AMERICA                             Date: February 9, 2023

vs.                                                  Case No.: 23-mj-2011DPR

BRIAN ALLEN ROGERS


Honorable David P. Rush, presiding at Springfield, Missouri

Nature of Hearing: Rule 5(c)(3) Out – Initial Appearance

Time Commenced: 11:00 a.m.                                    Time Terminated: 11:03 a.m.


                                     APPEARANCES

Plaintiff:   Jessica Eatmon, AUSA
Defendant:   Brian Risley, FPD
USPPTS:      Alina Davis


Proceedings: Parties appear as indicated above. Defendant appears in person.

             FPD’s appointed for this district only. Government moves for detention.
             Defendant advised of rights and questioned as to completion of the waiver of
             Rule 40 hearings. Defendant waives the right to an identity hearing and a
             detention hearing in this district. Defendant reserves the right to a
             preliminary and detention hearing in the charging district. Defendant
             ordered removed to the District of Tennessee.

             Defendant in custody.


Courtroom Deputy/ERO: Karla Berziel




       Case
        Case6:23-mj-02011-DPR
              6:23-mj-02011-DPR Document
                                 Document7-1
                                           3 Filed
                                             Filed 02/09/23
                                                   02/09/23 Page
                                                            Page 19 of
                                                                    of 112
                                                                                            9
Case 2:22-cr-20273-TLP Document 19 Filed 02/09/23 Page 11 of 13   PageID 42




    Case
      Case
         6:23-mj-02011-DPR
           6:23-mj-02011-DPRDocument
                              Document
                                     7-14 Filed
                                          Filed 02/09/23
                                                02/09/23 Page
                                                         Page 10
                                                              1 ofof112
                                                                              10
 Case 2:22-cr-20273-TLP Document 19 Filed 02/09/23 Page 12 of 13                      PageID 43




                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff              )
                                                     )
                    v.                               )
                                                     )    Criminal Action
BRIAN ALLEN ROGERS,                                  )    No. 23-mj-2011DPR
                                                     )
                              Defendant.             )



                              ORDER APPOINTING COUNSEL

        The above-named defendant having appeared before the United States Magistrate Judge on

the 9th day of February, 2023, the United States Magistrate Judge finds that defendant not having

waived counsel, it is

          ORDERED that the Federal Public Defenders' Office for the Western District of Missouri

be, and it is hereby, appointed to represent the defendant before the United States Magistrate Judge

in this district.



                                                  /s/ David P. Rush
                                              DAVID P. RUSH
                                              United States Magistrate Judge

Date: February 9, 2023




         Case
           Case
              6:23-mj-02011-DPR
                6:23-mj-02011-DPRDocument
                                   Document
                                          7-15 Filed
                                               Filed 02/09/23
                                                     02/09/23 Page
                                                              Page 11
                                                                   1 ofof112
                                                                                                       11
           Case 2:22-cr-20273-TLP Document 19 Filed 02/09/23 Page 13 of 13                                          PageID 44
AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Western District of Missouri

                  United States of America
                                                                      )
                             v.
                                                                      )
                                                                              Case No.   23-mj-2011DPR
                                                                      )
                                                                      )
                  BRIAN ALLEN ROGERS                                            Charging District’s
                                                                      )
                                                                                                  22cr-
                                                                      )
                           Defendant                                            Case No.    20273TLP

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                                    District of             Tennesse   ,
                  Western Division
(if applicable)                                     division. The defendant may need an interpreter for this language:
                                                                .

          The defendant:             will retain an attorney.
                                     is requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:              2/9/2023                                                                /s/ David P. Rush
                                                                                             Judge’s signature

                                                                                David P. Rush United States Magistrate
                                                                                           Printed name and title




                   Case
                     Case
                        6:23-mj-02011-DPR
                          6:23-mj-02011-DPRDocument
                                             Document
                                                    7-16 Filed
                                                         Filed 02/09/23
                                                               02/09/23 Page
                                                                        Page 12
                                                                             1 ofof112
                                                                                                                                    12
